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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

FIREFLY GARDENS LLC,                               §
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §             Civil Action No. 3:20-cv-02496-M
                                                   §
BORON CAPITAL LLC, et al.,                         §
                                                   §
        Defendants.                                §
                                                   §
                                                   §

                                               ORDER

        By July 28, 2022, the parties shall submit a joint report apprising the Court of the status

of this case in light of the September 6, 2022, trial setting.

        SO ORDERED.

        July 14, 2022.


                                                BARBARA M. G. LYNN
                                                CHIEF JUDGE
